 OAO 435                                 Administrative Office of the United States Courts                              FOR COURT USE ONLY
 AZ Form (Rev. 10/2018)                                                                                                 DUE DATE:
                                                TRANSCRIPT ORDER

1. NAME                                                                             2. PHONE NUMBER                     3. DATE
          Raymond K. Woo                                                               602-514-7500                                2/10/2025
4. FIRM NAME
                 US Attorney's Office
5. MAILING ADDRESS                                                                  6. CITY                             7. STATE         8. ZIP CODE
                          40 N. Central Ave., Suite 1800                                       Phoenix                     AZ                 85004
9. CASE NUMBER                          10. JUDGE                                                              DATES OF PROCEEDINGS
   15-CR-00986-PHX                                  Boyle                           11. 6/8/2016                         12.
13. CASE NAME                                                                                                 LOCATION OF PROCEEDINGS
   US v. Murray John Lawson                                                         14. Phoenix                          15. STATE AZ
16. ORDER FOR
9 APPEAL                                ✔
                                        9 CRIMINAL                                  9 CRIMINAL JUSTICE ACT                  BANKRUPTCY
9 NON-APPEAL                            9 CIVIL                                     9 IN FORMA PAUPERIS                     OTHER (Specify)

17. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested.)

                PORTIONS                                   DATE(S)                               PORTION(S)                           DATE(S)
  9VOIR DIRE                                                                          9TESTIMONY (Specify)
  9OPENING STATEMENT (Plaintiff)
  9OPENING STATEMENT (Defendant)
  9CLOSING ARGUMENT (Plaintiff)                                                       9PRE-TRIAL PROCEEDING
  9CLOSING ARGUMENT (Defendant)
  9OPINION OF COURT
  9JURY INSTRUCTIONS                                                                ✔9OTHER (Specify)
  9SENTENCING                                                                            Plea Hearing                                6/8/2016
  9BAIL HEARING
18. ORDER
                        ORIGINAL + 1             FIRST             # OF               DELIVERY INSTRUCTIONS
  CATEGORY             (original to Court,                      ADDITIONAL                                                        ESTIMATED COSTS
                                                 COPY                                    (Check all that apply.)
                     copy to ordering party)                      COPIES
    30 DAYS                    9                    9                                        PAPER COPY
    14 DAYS                    9
                               ✔                    9
7 DAYS(expedited)              9                    9                                 ✔      PDF (e-mail)                         R25AZX90088
    3 DAYS
                               9                    9
     DAILY
                               9                    9                                        ASCII (e-mail)
   HOURLY                      9                    9
   REALTIME                                                                         E-MAIL ADDRESS
                                                                                     Theresa.Hanson@usdoj.gov
CERTIFICATION (19. & 20.) By signing below, I certify that I will pay all charges
                        (deposit plus additional).
                                                                                     NOTE: IF ORDERING MORE THAN ONE FORMAT,
19. SIGNATURE s/Raymond K. Woo                                                       THERE WILL BE AN ADDITIONAL CHARGE.
20. DATE 2/10/2025
TRANSCRIPT TO BE PREPARED BY
                                                                                    ESTIMATE TOTAL

                                                                                    PROCESSED BY                            PHONE NUMBER
ORDER RECEIVED                                   DATE                 BY

DEPOSIT PAID                                                                        DEPOSIT PAID

TRANSCRIPT ORDERED                                                                  TOTAL CHARGES

TRANSCRIPT RECEIVED                                                                 LESS DEPOSIT
ORDERING PARTY NOTIFIED
                                                                                    TOTAL REFUNDED
TO PICK UP TRANSCRIPT

PARTY RECEIVED TRANSCRIPT                                                           TOTAL DUE


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